http://www2.dre.ca.gov/PublicASP/pplinfo.asp?start=1
                          Case 3:10-cv-03142-TEH            Document 18   Filed 09/07/10   Page 1 of 2    9/7/10 9:43 AM




                                                 STATE OF CALIFORNIA
                                              DEPARTMENT OF REAL ESTATE
    The license information shown below represents public information taken from the Department of Real Estate's
   database at the time of your inquiry. It will not reflect pending changes which are being reviewed for subsequent
    database updating. Also, the license information provided includes formal administrative actions that have been
  taken against licensees pursuant to the Business and Professions Code and/or the Administrative Procedure Act. All
     of the information displayed is public information. Although the business and mailing addresses of real estate
                   licensees are included, this information is not intended for mass mailing purposes.

       License information taken from records of the Department of Real Estate on 9/7/2010 9:41:25 AM

  License Type:                           SALESPERSON

  Name:                                   Juarez, Mario R

  Mailing Address:                        4030 INTERNATIONAL BLVD STE A
                                          OAKLAND, CA 94601-4014

  License ID:                             01451647

  Expiration Date:                        11/01/12

  License Status:                         LICENSED

  Salesperson License                     11/02/04
  Issued:
  Former Name(s):                         NO FORMER NAMES

  Employing Broker:                       License ID: 01827986
                                          American First Financial Corp
                                          5547 CHESBRO AVE
                                          SAN JOSE, CA 95123

  Comment:                                NO DISCIPLINARY ACTION

                                          05/03/06 - CONDITIONAL LICENSE SUSPENSION. EDUCATION
                                          REQUIREMENTS NOT FILED.

                                          06/09/06 - CONDITIONAL SUSPENSION REMOVED. EDUCATIONAL
                                          REQUIREMENTS MET.

                                          >>>> Public information request complete <<<<




                                                                                                              Page 1 of 2
http://www2.dre.ca.gov/PublicASP/pplinfo.asp?start=1
                          Case 3:10-cv-03142-TEH       Document 18   Filed 09/07/10   Page 2 of 2   9/7/10 9:43 AM




                                                                                                        Page 2 of 2
